                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION


UNITED STATES OF AMERICA,                 )
                                          )
Plaintiff,                                )
                                          )
v.                                        )    Case No. 09-00143-06-CR-W-ODS
                                          )
VIOREL SIMON,                             )
                                          )
Defendant.                                )

          ORDER (1) ADOPTING MAGISTRATE JUDGE’S REPORT AND
     RECOMMENDATION (DOC. 311), AND (2) ACCEPTING DEFENDANT’S GUILTY
                                  PLEA

        On September 7, 2010, the Honorable Sarah W. Hays issued her Report and
Recommendation concluding that the Court should accept Defendant’s guilty plea and
adjudge Defendant guilty of Counts 2 and 63 of the Superseding Indictment. The
parties have not filed objections to the Report and Recommendation, and the time for
doing so has passed. 28 U.S.C. § 636(b)(1)(C); Local Rule 74.1(a)(2). Upon careful
and independent review of the plea transcript and plea agreement, as well as the
applicable law, the Court agrees with the Report that Defendant’s guilty plea was
knowledgeable and voluntary and that the offenses charged are supported by an
independent basis in fact containing each of the essential elements of such offenses.
Judge Hays’ Report and Recommendation is adopted as the Order of the Court.
Defendant’s guilty plea is accepted, and the Court adjudges Defendant guilty of Counts
2 and 63 of the Superseding Indictment.
IT IS SO ORDERED.
                                               /s/ Ortrie D. Smith
                                               ORTRIE D. SMITH, JUDGE
DATE: October 4, 2010                          UNITED STATES DISTRICT COURT




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